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      ORDERED in the Southern District of Florida on August 9, 2018.




                                                      Laurel M. Isicoff
                                                      Chief United States Bankruptcy Judge




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                                 UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                          MIAMI DIVISION
                                         www.flsb.uscourts.gov


      In re:
      YURI LYUBARSKY and                                  Case No. 18-16659-LMI
      OLGA LYUBARSKY,                                     Chapter 7

             Debtors.
      ______________________________/

           ORDER GRANTING CHAPTER 7 TRUSTEE’S AGREED EX PARTE MOTION FOR
            (1) EXTENSION OF TIME FOR TRUSTEE TO OBJECT TO THE DEBTORS’
             CLAIMED EXEMPTIONS; AND (2) EXTENSION OF TIME FOR TRUSTEE
                  AND OFFICE OF THE UNITED STATES TRUSTEE TO FILE A
                    COMPLAINT OBJECTING TO DEBTORS’ DISCHARGE

               THIS MATTER came before the Court upon the Chapter 7 Trustee’s Marcia T. Dunn’s

      (“Trustee”) Agreed Ex Parte Motion for (1) Extension of Time for Trustee to Object to the Debtors’

      Claimed Exemptions; and (2) Extension of Time for Trustee and Office of the United States Trustee

      to File a Complaint Objecting to Debtors’ Discharge (the “Motion”) [D.E. 30]. The Court, having

      considered the record and reviewed the Motion, and acknowledging the agreement between the

      parties hereto to the relief requested therein, and for good cause shown, does hereby
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       ORDER and ADJUDGE that:

       1.       The Trustee’s Motion is GRANTED.

       2.       The deadline for the Trustee to file any objections to the Debtors’ claimed

exemptions is extended through and including October 10, 2018.

       3.       The deadline for the Trustee and the Office of the United States Trustee to file a

complaint objecting to the Debtors’ discharge pursuant to 11 U.S.C. § 727, is extended through and

including October 10, 2018.

       4.       These extensions are without prejudice as to the Trustee and the Office of the United

States Trustee seeking further extensions by agreement or otherwise.

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Submitted by:
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Attorney Dunn is directed to serve a conformed copy of this Order upon the Debtor(s) and to file a
certificate of service with the Court.
